 *5$17('



        UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF
                    TENNESSEE NASHVILLE DIVISION

  UNITED STATES OF AMERICA,                    )
                                               )
  V.                                           )     3:11-CR-00012 (23)
                                               )     Judge Wiseman
  XAVIER PARNELL,                              )
      DEFENDANT.                               )

       MOTION TO JOIN CERTAIN MOTIONS FILED BY CO-DEFENDANTS

        Comes now the defendant, Xavier Parnell, by and through undersigned
  counsel, and moves this Court to allow the defendant to join in the following
  motions docketed as:

        744, 745, 777, 800, 818, 822, 828, 833, 835, 846, 875, 899;
        851, 852, 854, 855, 856, 863, 941, 967.
       
  Respectfully submitted,

  s/ Hershell Koger
  Hershell Koger Counsel for Defendant Xavier Parnell
  P.O. Box 1148 Pulaski, TN 38478
  (931) 424-0882 kogerlaw@hotmail.com

                                 CERTIFICATE OF SERVICE
  I hereby certify that on the 18th day of June 2012, a true and correct copy of the
  foregoing Motion to Join Certain Motions Filed by Co-Defendants was sent via the
  CM/ECF system to A.U.S.A Sunny Koshy, 110 9thAvenue South, Suite A-961,
  Nashville, Tennessee 37201.

  s/ Hershell Koger
  Hershell Koger




Case 3:11-cr-00012      Document 985       Filed 06/21/12     Page 1 of 1 PageID #: 4960
